
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                              _________________________

          No. 95-1167

                             GLORIA IVETTE CORREA, a/k/a 
                        GLORIA IVETTE CORREA GONZALEZ, ET AL.,

                                Plaintiffs, Appellees,

                                          v.

                               HOSPITAL SAN FRANCISCO,

                                Defendant, Appellant.

                              _________________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                  [Hon. Juan M. Perez-Gimenez, U.S. District Judge]
                                               ___________________

                              _________________________

                                        Before

                                Selya, Circuit Judge,
                                       _____________

                            Coffin, Senior Circuit Judge,
                                    ____________________

                              and Boudin, Circuit Judge.
                                          _____________

                              _________________________

               Igor J. Dominguez on brief for appellant.
               _________________
               Kevin  G. Little and Law Offices of David Efron on brief for
               ________________     __________________________
          appellees.

                              _________________________

                                   October 31, 1995

                              _________________________





















                    SELYA,  Circuit  Judge.   This  appeal  requires us  to
                    SELYA,  Circuit  Judge.
                            ______________

          interpret, for  the first  time, the Emergency  Medical Treatment

          and Active Labor Act (EMTALA), 42 U.S.C.   1395dd (1988 &amp; Supp. V

          1993).1  After  scrutinizing the record and dovetailing the facts

          with the statutory scheme,  we affirm a $700,000 jury  verdict in

          favor  of  the  heirs and  survivors  of  Carmen  Gloria Gonzalez

          Figueroa  (Ms. Gonzalez) against defendant-appellant Hospital San

          Francisco (HSF or the Hospital).

          I.  THE FACTS
          I.  THE FACTS

                    We  are  guided  through  the  thicket  of  conflicting

          testimony and the chasmal gaps in the direct evidence by the rule

          that,  when the  losing  party protests  the  sufficiency of  the

          evidence,  the court of appeals must take  both the facts and the

          reasonable inferences  therefrom in the light  most hospitable to

          the jury's verdict.  See Sanchez  v. Puerto Rico Oil Co., 37 F.3d
                               ___ _______     ___________________

          712, 716 (1st  Cir. 1994); Wagenmann v. Adams, 829  F.2d 196, 200
                                     _________    _____

          (1st Cir. 1987).

                    According  to her  son, Angel  Correa, Ms.  Gonzalez, a

          sixty-five-year-old widow,  awoke on the morning  of September 6,

          1991 "feeling  real bad,"  and experiencing "chills,  cold sweat,

          dizziness, [and] chest pains."  She requested that Angel take her

          to  the emergency  room  at  HSF  (where  she  had  been  treated

          previously).  She arrived there no later than 1:00 p.m.
                              
          ____________________

               1In Wilson v. Atlanticare  Med. Ctr., 868 F.2d 34  (1st Cir.
                   ______    ______________________
          1989), the plaintiff asked us to consider whether a state statute
          prescribing  a medical  malpractice claims  procedure applied  to
          suits under EMTALA.  See id. at 35.  We refused, however, because
                               ___ ___
          the plaintiff had not preserved the issue.  See id. at 35-36.
                                                      ___ ___

                                          2














                    The  evidence is conflicted as to whom she saw and what

          that person was told  about her condition.  Angel  testified that

          he implored the  receptionist to  have someone "take  care of  my

          mother,  because  she  feels sick  and  has  chest  pains."   The

          Hospital disagrees, maintaining that its personnel were told only

          that Ms.  Gonzalez felt dizzy  and nauseated.   In  any event,  a

          Hospital employee  assigned the  patient a number  (forty-seven),

          told  her to  bide her  time, and  checked her  medical insurance

          card.2   After waiting approximately  one hour, Angel  called his

          sister,  Esther Correa,  and asked  her to  relieve him.   Esther

          arrived some fifteen  minutes later and Angel  left the premises.

          At  that very moment (roughly  2:15 p.m.), he  heard an attendant

          calling patient number twenty-four for treatment.

                    Now  accompanied   by   her  daughter,   Ms.   Gonzalez

          maintained her unproductive vigil for an additional forty-five to

          seventy-five minutes.   The Hospital staff  continued blithely to

          ignore her.   Weary of waiting, the two women drove to the office

          of Dr. Acacia Rojas  Davis (Dr. Rojas), the director  of Hospmed,

          arriving  there  between 3:00  and 3:30  p.m.   According  to Dr.

          Rojas, a nurse  called from HSF  to advise her  that the  patient

          would be coming  to Hospmed for treatment.   Dr. Rojas  said that

          this  conversation probably  occurred earlier  that day  (perhaps

          around 1:00 p.m.), a datum suggesting that HSF tried to shunt Ms.

                              
          ____________________

               2Ms. Gonzalez's  health insurance plan required  her to seek
          routine treatment at Hospmed (a local clinic) during its business
          hours,  but  allowed  her  to  see  any  appropriate  health-care
          provider in case of an emergency.

                                          3














          Gonzalez to Hospmed as soon as it scrutinized her insurance card.

                    Ms. Gonzalez informed Dr.  Rojas that she was nauseated

          and   had  taken  a  double  dose  of  her  high  blood  pressure

          medication.  Her blood  pressure was very low (90/60),  and, when

          she began vomiting, the physician immediately started intravenous

          infusions  of fluids.  She also dispensed medicine to control the

          emesis.   Despite these  ministrations, Ms. Gonzalez's  condition

          steadily deteriorated.   Dr.  Rojas had to  resuscitate her  soon

          after her arrival.  The doctor then attempted to transfer  her to

          the Hato  Rey Community  Hospital,  but could  not commandeer  an

          ambulance.   As  Dr. Rojas  began preparations  to transport  Ms.

          Gonzalez  by van, the patient expired.  Her death, which occurred

          at around 4:30 p.m., was attributed to hypovolemic shock.

          II.  THE PROCEEDINGS BELOW
          II.  THE PROCEEDINGS BELOW

                    The plaintiffs    Ms.  Gonzalez's three  adult children

          and four of her grandchildren (the progeny of her late son, Felix

          Correa, who  had  predeceased her)     brought suit  against  the

          Hospital  in the United States District Court for the District of

          Puerto  Rico.3     They  alleged  two  violations   of  EMTALA   

          inappropriate  screening and  improper transfer    and  a pendent

          claim of medical malpractice under local law.  Following a trial,

          the plaintiffs' case  went to  the jury  on the  two theories  of

                              
          ____________________

               3Although  their complaint  is not  a model of  clarity, the
          plaintiffs apparently sued in two  capacities.  As Ms. Gonzalez's
          heirs, they  asserted  a representative-capacity  claim  for  her
          pain,  suffering,  and related  damages.    As individuals,  they
          simultaneously  asserted claims  for  their own  pain, suffering,
          mental anguish, and kindred losses.

                                          4














          EMTALA liability.4  The jury returned a series of special written

          findings,  Fed. R. Civ. P. 49(a), assessed $200,000 in damages on

          the  decedent's  account (payable  to  the  heirs), and  assessed

          $500,000  in damages for the  pain, suffering, and mental anguish

          experienced by the  survivors     $100,000 apiece  for the  three

          children (Angel,  Esther, and Gloria), and $50,000 apiece for the

          four  grandchildren  (Glendalis, Glorimar,  Angelis,  and Sarai).

          The district  court denied the Hospital's  post-trial motions for

          judgment  as  a matter  of  law, a  new  trial, and  remission of

          damages.  This appeal ensued.

          III.  THE STATUTORY SCHEME
          III.  THE STATUTORY SCHEME

                    We  delineate EMTALA's  requirements  in order  to give

          definition to the statutory cause of action and place some of its

          nuances into perspective.

                    As health-care  costs spiralled upward  and third-party

          payments  assumed increased importance, Congress became concerned

          "about the  increasing number of reports  that hospital emergency

          rooms are  refusing to  accept or  treat patients  with emergency

          conditions if the patient does not have medical insurance."  H.R.

          Rep.  No. 241(I), 99th Cong.,  1st Sess. 27  (1986), reprinted in
                                                               _________ __

          1986 U.S.C.C.A.N. 42, 605.  Congress enacted EMTALA to allay this

          concern.   Needing a  carrot to  make health-care providers  more

          receptive  to  the  stick, Congress  simultaneously  amended  the

          Social   Security   Act,   conditioning    hospitals'   continued

                              
          ____________________

               4The district  court dismissed the malpractice  claim.  That
          ruling is not before us on appeal.

                                          5














          participation  in  the federal  Medicare  program    a  lucrative

          source of  institutional revenue    on  acceptance of  the duties

          imposed by the new law.  See 42 U.S.C.   1395dd(a-b), (e)(2); see
                                   ___                                  ___

          also Abercrombie  v. Osteopathic  Hosp. Founders Ass'n,  950 F.2d
          ____ ___________     _________________________________

          676, 680 (10th  Cir. 1991);  Brooker v. Desert  Hosp. Corp.,  947
                                       _______    ___________________

          F.2d 412, 414 (9th Cir. 1991).

                    We  have set out the  portions of the  statute that are

          most germane  to this  appeal in  an appendix.   For  purposes of

          patients  such   as  Ms.   Gonzalez,  EMTALA  has   two  linchpin

          provisions.   First,  it requires  that a  participating hospital

          afford an appropriate  medical screening to all  persons who come

          to  its emergency room seeking medical assistance.  See 42 U.S.C.
                                                              ___

            1395dd(a).  Second,  it requires that, if an  emergency medical

          condition  exists,  the  participating hospital  must  render the

          services that are necessary to stabilize the patient's condition,

          see  id.    1395dd(b)(1)(A), unless  transferring the  patient to
          ___  ___

          another facility  is medically indicated and  can be accomplished

          with  relative safety, see id.   1395dd(b)(1)(B), (c)(1).  To add
                                 ___ ___

          bite to its provisions, EMTALA establishes monetary penalties for

          noncompliance, see  id.    1395dd(d)(1),  and authorizes  private
                         ___  ___

          rights  of action against those who  transgress its mandates, see
                                                                        ___

          id.   1395dd(d)(2).
          ___

                    To establish an EMTALA violation, a plaintiff must show

          that  (1) the  hospital is  a participating hospital,  covered by

          EMTALA, that  operates an emergency department  (or an equivalent

          treatment  facility); (2)  the  patient arrived  at the  facility


                                          6














          seeking treatment; and (3) the hospital either (a) did not afford

          the patient an appropriate screening in order to determine if she

          had an emergency medical  condition, or (b) bade farewell  to the

          patient  (whether  by  turning  her  away,  discharging  her,  or

          improvidently transferring  her)  without first  stabilizing  the

          emergency  medical condition.  See Miller v. Medical Ctr. of S.W.
                                         ___ ______    ____________________

          La., 22  F.3d 626, 628 (5th  Cir. 1994); Stevison  v. Enid Health
          ___                                      ________     ___________

          Sys., Inc., 920 F.2d 710, 712 (10th Cir. 1990).
          __________

                    HSF  attempts   to  read  into  section   1395dd(a)  an

          additional requirement:  that  the patient show that she  in fact

          suffered from an emergency medical  condition when she arrived at

          the emergency room.  But EMTALA imposes no such requirement.  The

          statute by its  terms directs a participating hospital to provide

          an  appropriate  screening  to  all  who  come to  its  emergency

          department.   Thus,  to prove  a violation of  EMTALA's screening

          provisions, a plaintiff need not prove that she actually suffered

          from an emergency  medical condition when she first  came through

          the   portals   of   the   defendant's   facility;  the   failure

          appropriately  to  screen, by  itself,  is  sufficient to  ground

          liability as long  as the other  elements of the cause  of action

          are met.5
                              
          ____________________

               5To be sure,  some courts  have suggested in  dictum that  a
          plaintiff  must  show,  as  an  ingredient  of  an  inappropriate
          screening  claim, that  she  suffered from  an emergency  medical
          condition when she arrived  at the hospital.  See,  e.g., Miller,
                                                        ___   ____  ______
          22  F.3d at  630 n.8;  Ruiz v.  Kepler, 832  F. Supp.  1444, 1447
                                 ____     ______
          (D.N.M. 1993); Huckaby v. East Ala. Med. Ctr., 830 F. Supp. 1399,
                         _______    ___________________
          1402 (M.D. Ala. 1993).  This suggestion finds no purchase  in the
          statute's text, and we  reject it.  We note,  however, that while
          this distinction may have implications for civil penalties, which

                                          7














          IV.  ANALYSIS
          IV.  ANALYSIS

                    HSF assigns  error in  no fewer than  eight iterations.

          It debunks the sufficiency of the evidence in  five respects.  It

          then  hypothesizes that, even if the evidence on these points can

          withstand  an  instructed  verdict,  it  is  so anemic  that  the

          district  court should  have  repudiated the  jury's findings  on

          liability and  ordered a new trial.  The climax of the Hospital's

          asseverational  array  denigrates the  award  of  damages in  two

          respects.  After careful perscrutation of both the record and the

          rich variety of challenges marshalled by HSF, we affirm.

                           A. Sufficiency of the Evidence.
                           A. Sufficiency of the Evidence.
                              ___________________________

                    The  Hospital's multi-pronged  attack  calls into  play

          varying  standards of appellate review.  The first five claims of

          error  all involve the  sufficiency of the  evidence, and, hence,

          are reviewed under a familiar set of rules.

                    The district court's denial of a motion for judgment as

          a matter  of law poses  a question  of law  and, therefore,  this

          court's review of  such a ruling is plenary.   See Gibson v. City
                                                         ___ ______    ____

          of Cranston,  37 F.3d 731,  735 (1st  Cir. 1994).   In addressing
          ___________

          such issues on appeal, we must approach the evidence from a coign
                              
          ____________________

          are imposable  irrespective of  resulting harm, see  42 U.S.C.   
                                                          ___
          1395dd(d)(1)(A), the  statutory damage remedy requires  a showing
          of  "personal  harm  as  a   direct  result  of  a  participating
          hospital's violation of [EMTALA]," id.   1395dd(d)(2)(A).   It is
                                             ___
          difficult  to imagine  a case  in which  a  patient who  does not
          present an  emergency medical  condition will meet  the statute's
          causation requirement or  fall within the category  of those whom
          it intends  to  protect.   In  all events,  we can  reserve  such
          questions for  another day, because the  plaintiffs fairly allege
          that Ms. Gonzalez did present an emergency medical condition, the
          jury so found, and the evidence to that effect was ample.

                                          8














          of  vantage identical to that  employed by the  district court in

          the first  instance.  See  Rolon-Alvarado v. Municipality  of San
                                ___  ______________    ____________________

          Juan, 1 F.3d 74, 77 (1st Cir. 1993).  This dictates  that we take
          ____

          the record in the  light most flattering to the  nonmoving party,

          without  probing   the  veracity  of   the  witnesses,  resolving

          conflicts  in the  testimony,  or  assaying  the  weight  of  the

          evidence.   See  Gibson, 37 F.3d  at 735; Wagenmann,  829 F.2d at
                      ___  ______                   _________

          200.   We  "may reverse  the  denial of  such  a motion  only  if

          reasonable persons could not have reached the conclusion that the

          jury embraced."  Sanchez, 37 F.3d at 716.
                           _______

                    1.  EMTALA Coverage.  The Hospital starts its series of
                    1.  EMTALA Coverage.
                        _______________

          sufficiency  sorties  by  solemnly  stating  that  the  survivors

          stumbled  in failing  to  show that  it  is subject  to  EMTALA's

          suzerainty.   We need  not tarry.  HSF  tacitly concedes that, in

          general, federal courts have jurisdiction over EMTALA claims, see
                                                                        ___

          Thornton v. Southwest  Detroit Hosp.,  895 F.2d  1131, 1133  (6th
          ________    ________________________

          Cir.  1990), but  argues  that the  plaintiffs  did not  prove  a

          requisite  predicate fact:   that  HSF had  accepted the  federal

          government's  carrot  and agreed  to  come under  EMTALA.6   This
                              
          ____________________

               6In its brief, the Hospital treats this issue as implicating
          the  court's  subject  matter  jurisdiction.   The  Hospital,  of
          course, could have raised the question in that form by a pretrial
          motion, see Fed. R.  Civ. P. 12(b)(1), but refrained.   Since the
                  ___
          defendant did  not so move,  and since the  disputed fact  is one
          that  has the  capacity not  only  to oust  the federal  court of
          jurisdiction  but also to defeat the claim on the merits (because
          the same fact that is needed to support jurisdiction must also be
          demonstrated  to the  factfinder in  order for  the plaintiff  to
          prevail), an  appellate court should evaluate  the jury's factual
          finding  under a  sufficiency-of-the-evidence test.   Cf.  United
                                                                ___  ______
          States v.  Victoria-Peguero,  920 F.2d  77,  87 (1st  Cir.  1990)
          ______     ________________
          (undertaking sufficiency-of-the-evidence review following  a jury

                                          9














          argument has the shrill ring of desperation.

                    The  plaintiffs  introduced   into  evidence,   without

          objection, HSF's policy statement outlining for its employees and

          associates how  the Hospital  intended to ensure  compliance with

          EMTALA in  its  emergency room.    The Hospital  solidified  this

          proffer  when,  during  the  defense case,  its  health  services

          administrator  testified  that  he had  dutifully  instructed his

          staff regarding the  fine points of EMTALA compliance.   Evidence

          admitted without limitation can be used by the jury on  any issue

          in the case.  See, e.g.,  United States v. Castro-Lara, 970  F.2d
                        ___  ____   _____________    ___________

          976, 981 (1st Cir.  1992), cert. denied, 113 S. Ct.  2935 (1993).
                                     _____ ______

          Here, the policy statement and the executive's testimony, without

          more, formed  a sturdy  basis on  which the  jury could build  an

          eminently  reasonable  inference  that  the  Hospital  considered

          itself to be   and was   covered by EMTALA.

                    HSF strives to topple this edifice, contending that the

          policy statement constituted  inadmissible hearsay  and that  the

          plaintiffs did  not lay  a proper  foundation for  the document's

          introduction.  But in the absence of plain error   and we discern

          none  here    these  objections, voiced  for  the first  time  on

          appeal,  are deemed  to have  been waived.   See  Suarez-Matos v.
                                                       ___  ____________

          Ashford Presbyterian Community  Hosp., Inc., 4  F.3d 47, 50  (1st
          ___________________________________________

          Cir. 1993); Freeman  v. Package  Mach. Co., 865  F.2d 1331,  1336
                      _______     __________________

                              
          ____________________

          determination that  a ship  was within territorial  waters, where
          such a fact was both a predicate for criminal jurisdiction and an
          element of  the  offense charged),  cert.  denied, 500  U.S.  932
                                              _____  ______
          (1991).

                                          10














          (1st Cir. 1988); see also Fed. R. Evid. 103.  Hence, the jury had
                           ___ ____

          a  rational basis  on which  to conclude  that HSF  is  among the

          ninety-nine percent of American hospitals covered by EMTALA.

                    2.  Failure to Provide Appropriate Screening.  Three of
                    2.  Failure to Provide Appropriate Screening.
                        ________________________________________

          the Hospital's remaining four  sufficiency-of-the-evidence claims

          are inextricably intertwined.  These three claims are designed to

          illustrate the purported  lack of  any foundation  for a  finding

          that HSF  failed  to provide  Ms.  Gonzalez with  an  appropriate

          screening upon her appearance  at the emergency room.   The final

          sufficiency  claim   is  closely  related  to   the  first  three

          initiatives.   In it, HSF posits  that, as long as  a hospital is

          not  motivated  by  crass  economic  considerations,  any failure

          appropriately  to screen  does not  run afoul  of EMTALA.   These

          importunings lack merit.7

                                          a.
                                          a.
                                          __

                    We begin this analytic segment by laying a straw man to

          rest.   The Hospital asserts that  it had no obligation to screen

          because Ms. Gonzalez did not  have an emergency medical condition

          when she  reported to its  facility.   This theory of  defense is

          doubly  flawed.   For  one thing,  EMTALA requires  participating

          hospitals  to provide appropriate screening to  all who enter the

          hospitals' emergency departments,  whether or not they are in the

          throes of a medical emergency when they arrive.  See supra note 5
                                                           ___ _____
                              
          ____________________

               7Because  we uphold  the  jury's finding  that HSF  violated
          EMTALA  when  it failed  to  afford Ms.  Gonzalez  an appropriate
          screening, we need not  comment upon the jury's finding  that HSF
          also  violated EMTALA  by  improperly transferring  Ms.  Gonzalez
          before her condition had stabilized.

                                          11














          and  accompanying text.  For  another thing, the  record does not

          compel  a  conclusion  that the  decedent's  emergency  condition

          developed only after she consulted Dr. Rojas.

                    Angel Correa testified that he told  HSF's receptionist

          that  his mother was  experiencing chest pains,  and HSF concedes

          that  a patient  of Ms.  Gonzalez's age  who suffered  from chest

          pains would be regarded as having an emergency medical condition.

          Yet the Hospital asks us to  ignore this evidence in deference to

          Dr. Rojas's  testimony that  Ms. Gonzalez  did not  develop chest

          pains until some time after she arrived at Hospmed.   There is no

          principled  way  in  which  we  can  accommodate  HSF's  request.

          Credibility choices are generally for the jury, not for the court

          of appeals.   See Cook  v. Rhode Island  Dep't of Mental  Health,
                        ___ ____     ______________________________________

          Retardation, and Hosps., 10 F.3d 17, 21 (1st Cir. 1993).  What is
          _______________________

          more,  Dr. Rojas's testimony does not rule out a finding that Ms.

          Gonzalez  exhibited  an  emergency  medical  condition  when  she

          arrived at  HSF.  The  chest pains  might well  have spurted  and

          later  subsided, or,  even  if Ms.  Gonzalez  only complained  of

          nausea  and   dizziness,  that  symptomatology   (as  Dr.   Rojas

          explained) might  well herald the  onset of an  emergency medical

          condition in the  case of  a hypertensive diabetic  (such as  Ms.

          Gonzalez).

                                          b.
                                          b.
                                          __

                    We next  assess the Hospital's insistence  that it gave

          Ms.  Gonzalez  the  same  (suitable) screening  provided  to  all

          patients.  EMTALA requires  an appropriate medical screening, but


                                          12














          does  not explain what constitutes one.  The adjectival phrase is

          not self-defining.   See  Cleland v.  Bronson Health  Care Group,
                               ___  _______     ___________________________

          Inc., 917 F.2d 266, 271 (6th Cir. 1990) ("`Appropriate' is one of
          ____

          the  most wonderful weasel words  in the dictionary,  and a great

          aid  to  the resolution  of disputed  issues  in the  drafting of

          legislation.   Who,  after  all, can  be  found to  stand up  for

          `inappropriate' treatment or actions of any sort?").  In the last

          analysis, appropriateness, like nature, is "a mutable cloud which

          is  always and  never the  same."   Ralph Waldo  Emerson, Essays:
                                                                    _______

          First Series (1841).
          ____________

                    Be that as it may, the courts have achieved a consensus

          on  a  method  of  assessing  the  appropriateness  of a  medical

          examination  in  the EMTALA  context.   A  hospital  fulfills its

          statutory duty to  screen patients  in its emergency  room if  it

          provides  for a  screening examination  reasonably calculated  to

          identify  critical  medical  conditions that  may  be  afflicting

          symptomatic  patients  and  provides  that   level  of  screening

          uniformly   to  all  those   who  present  substantially  similar

          complaints.   See Baber v. Hospital  Corp. of Am., 977  F.2d 872,
                        ___ _____    ______________________

          879 (4th Cir. 1992); Gatewood v. Washington Healthcare Corp., 933
                               ________    ___________________________

          F.2d   1037,  1041  (D.C.  Cir.  1991).    The  essence  of  this

          requirement  is that there be  some screening procedure, and that

          it be administered even-handedly.

                    We add a  caveat:   EMTALA does not  create a cause  of

          action  for medical malpractice.  See Gatewood, 933 F.2d at 1041.
                                            ___ ________

          Therefore,  a refusal to follow regular screening procedures in a


                                          13














          particular instance contravenes the  statute, see Baber, 977 F.2d
                                                        ___ _____

          at 879, but faulty screening, in a particular case, as opposed to

          disparate screening  or  refusing  to  screen at  all,  does  not

          contravene the statute.   See Brooks v. Maryland Gen.  Hosp., 996
                                    ___ ______    ____________________

          F.2d 708,  711 (4th Cir.  1993).   In this case,  HSF's delay  in

          attending  to  the  patient  was  so  egregious  and  lacking  in

          justification  as to amount to an effective denial of a screening

          examination.  Thus, we need not decide whether mere negligence in

          failing to  expedite screening  would itself violate  the federal

          statute.

                    To illustrate our point, it should be recalled that HSF

          prescribed internal  procedures which  set the parameters  for an

          appropriate screening.   HSF's rules, as explicated in its policy

          statement,  required its  emergency room  personnel,  inter alia,
                                                                _____ ____

          promptly to take the vital signs of every patient who visited the

          facility, to make  a written record of all such  visits, to treat

          patients suffering  from chest  pains as critical  cases, and  to

          refer all  critical cases  to an in-house  physician immediately.

          From  the evidence  adduced at  trial, especially  Angel Correa's

          recollections and  the Hospital's utter inability  to produce any
                                                                        ___

          records  anent Ms.  Gonzalez's visit,  the jury  reasonably could

          have  inferred  that  the Hospital  did  not  measure  up to  the

          parameters it had established, and  that the decedent was  denied

          the  screening  (monitoring  of  vital signs,  compilation  of  a

          written chart, immediate referral  to an in-house physician) that

          HSF customarily afforded to persons complaining of chest pains.


                                          14














                    That ends  the matter.    Bearing in  mind that,  under

          EMTALA   1395dd(a),  the same screening examination  must be made

          available  to all  similarly situated  patients, see  Brooks, 996
                                                           ___  ______

          F.2d at 710-11; Baber,  977 F.2d at 881, the  jury's finding that
                          _____

          HSF denied  Ms. Gonzalez an appropriate  screening examination is

          unimpugnable.

                                          c.
                                          c.
                                          __

                    In  an  allied  vein,  the Hospital  contends  that  it

          neither denied Ms. Gonzalez an  initial screening nor refused her

          essential treatment.   Its  point is that  it gave the  patient a

          number, and would  have ministered to her  had she waited.   This

          contention is spurious.

                    First,   according  to  Dr.  Rojas,  HSF  referred  Ms.

          Gonzalez  to  Hospmed.    If the  jury  believed  the physician's

          testimony   and  we note, as an aside, that  HSF called Dr. Rojas

          as its witness   it could well have found that HSF never intended

          to treat the decedent,  or, at the least, was  itself responsible

          for truncating her  wait.   Second, we think  that regardless  of

          motive, a complete  failure to  attend a patient  who presents  a

          condition   that  practically  everyone  knows  may  indicate  an

          immediate and acute  threat to life can constitute a denial of an

          appropriate   medical   screening   examination   under   section

          1395dd(a).  Much depends upon circumstances; we recognize that an

          emergency  room cannot  serve  everyone simultaneously.   But  we

          agree  with  the  court  below  that the  jury  could  rationally

          conclude, absent  any  explanation or  mitigating  circumstances,


                                          15














          that the Hospital's inaction here amounted to a deliberate denial

          of screening.  EMTALA should be read to proscribe both actual and

          constructive dumping of patients.

                                          d.
                                          d.
                                          __

                    HSF   maintains  that   depriving   a  patient   of  an

          appropriate screening,  in and  of itself,  will  not support  an

          EMTALA claim.   It  suggests that  a hospital can  be liable  for

          transgressing  the statute only if economic concerns, such as the

          suspicion that the patient  will be unable adequately to  pay her

          way,  drive the  hospital's  actions.    Since Ms.  Gonzalez  had

          insurance  that  permitted her  hospital  visit  if an  emergency

          existed, its thesis continues, its handling of her case could not

          have been motivated by  concerns about her ability  to pay.8   As

          phrased, this contention raises a question of law, engendering de

          novo review.  See  Foster Miller, Inc. v. Babcock  &amp; Wilcox Can.,
                        ___  ___________________    ______________________

          46 F.3d 138, 147 (1st Cir. 1995).

                    Every court  of appeals that has  considered this issue

          has  concluded that a desire to shirk the burden of uncompensated

          care  is not  a  necessary element  of a  cause  of action  under

          EMTALA.  See, e.g., Power v. Arlington Hosp. Ass'n, 42  F.3d 851,
                   ___  ____  _____    _____________________

          857 (4th Cir. 1994); Collins v.  DePaul Hosp., 963 F.2d 303,  308
                               _______     ____________


                              
          ____________________

               8In  all  events, this  argument  is an  oversimplification.
          Especially in  the health-care field, all insurance plans are not
          created  equal.     Given  the  bewildering   array  of  coverage
          conditions,  deductibles,  reimbursement  rates,  and  the  like,
          sophisticated but  esurient providers  have ample  provocation to
          discriminate not only between  insured and uninsured patients but
          also among patients who are insured under different plans.

                                          16














          (10th  Cir. 1992); Gatewood,  933 F.2d at  1040.9  We  think that
                             ________

          these  cases are  correctly  decided, and  that  EMTALA does  not

          impose  a motive requirement.  The decision on which the Hospital

          relies, Nichols v. Estabrook, 741 F. Supp. 325 (D.N.H. 1989), did
                  _______    _________

          not involve failure  to screen,  but merely a  misdiagnosis.   We

          hold, therefore, that EMTALA,  by its terms, covers all  patients

          who come to a hospital's emergency  department, and requires that

          they be appropriately screened, regardless of insurance status or

          ability to pay.  See 42 U.S.C.   1395dd(a).
                           ___

                                    B.  New Trial.
                                    B.  New Trial.
                                        _________

                    We turn now to the  Hospital's complaint that the lower

          court erred in declining to honor its motion for an unconditional

          new  trial.   Our  reexamination  of  this  ruling  is  extremely

          circumscribed.  Principally because the trial judge saw and heard

          the  witnesses in the raw,  his refusal to  uproot a jury verdict

          may  only be  reversed for  abuse of  discretion.   See Quinones-
                                                              ___ _________

          Pacheco  v.  American Airlines,  Inc., 979  F.2d  1, 3  (1st Cir.
          _______      ________________________

          1992); Veranda Beach  Club Ltd. Partnership v.  Western Sur. Co.,
                 ____________________________________     ________________

          936 F.2d 1364, 1384 (1st Cir. 1991).  This means, in effect, that

          an  appellate  court may  set  aside such  a  ruling  only if  it
                              
          ____________________

               9In Cleland, the  Sixth Circuit held, as have  other courts,
                   _______
          that  a  fear of  nonpayment is  not  essential to  triggering an
          EMTALA  claim.   See  917 F.2d  at  272.   Cleland is  different,
                           ___                       _______
          however,  in that the  court required there  to be some  motive  
                                                             ____
          whether or not economic    for the disparate treatment.   See id.
                                                                    ___ ___
          Other  courts have declined to follow the Sixth Circuit's lead in
          this respect, see,  e.g., Gatewood, 933 F.2d at 1041  n.3, and we
                        ___   ____  ________
          agree  that  the range  of improper  motives available  under the
          Cleland standard "is so broad as to be no limit at all, and  as a
          _______
          practical  matter amounts  to not  having a  motive requirement."
          Power, 42 F.3d at 857.
          _____

                                          17














          determines that  "the verdict is against  the demonstrable weight

          of the credible evidence  or results in a blatant  miscarriage of

          justice."  Sanchez, 37 F.3d at 717.
                     _______

                    Refined  to bare essence, HSF's  claim is that, even if

          the plaintiffs introduced enough proof to withstand judgment as a

          matter of law, the  verdict defied the weight of  the trustworthy

          evidence.    In  support,  the  Hospital  reiterates  the  points

          previously discussed,  terming the evidence asthenic  as to HSF's

          status under EMTALA  and as  to its purported  violations of  the

          law.

                    We  will not  repastinate the  ground that  we ploughed

          earlier in this opinion.  The evidence regarding the relationship

          of  EMTALA to HSF, see supra Part  IV(A)(1), strikes us as rather
                             ___ _____

          persuasive,  especially since HSF    which could  have supplied a

          foolproof  answer  from  its own  records     offered  nothing to

          suggest that  it did not  welcome Medicare  patients.  As  to the

          other points, see  supra Part IV(A)(2), the jury  heard testimony
                        ___  _____

          from which  it could have concluded that Ms. Gonzalez went to the

          Hospital in critical  condition and received  only a high  number

          and  a  cold  shoulder.     Angel  Correa's  credibility  emerged

          relatively unscathed  from cross-examination; we cannot fault the

          jury either for crediting his recollection or for concluding that

          the  Hospital denied Ms.  Gonzalez any vestige  of an appropriate

          screening.

                    To  be  sure,  the   evidence  in  this  case   is  not

          particularly precise.   But facts  at trial, as  in life, do  not


                                          18














          always appear in black  and white.  Juries and  judges frequently

          must distinguish  between manifold shades  of gray.   The limited

          review   that  we  can  conduct  convinces   us  that  the  grays

          predominate here, that  the jury's finding of EMTALA liability is

          within  the spectrum of  acceptable outcomes, and  that the trial

          judge did not abuse his discretion in refusing to  paint over the

          jury's collective judgment.   No more is exigible.   See Freeman,
                                                               ___ _______

          865 F.2d at  1333-34 ("The mere fact that a  contrary verdict may

          have been equally    or even more easily    supportable furnishes

          no cognizable ground for granting a new trial.  If  the weight of

          the evidence is  not grotesquely lopsided, it  is irrelevant that

          the  judge, were he sitting jury-waived,  would likely have found

          the other way.").



                                     C.  Damages.
                                     C.  Damages.
                                         _______

                    On  the  final  leg of  our  journey,  we traverse  the

          Hospital's two challenges to the award of damages.  In substance,

          HSF maintains  (a) that the  plaintiffs may recover  under EMTALA

          only  those  damages  stemming   from  the  decedent's  pain  and

          suffering,  and  (b)  that  in all  events,  the  jury  exhibited

          excessive  generosity.    These  challenges  must  be  considered

          separately  for   they  evoke  differing  legal   principles  and

          standards of review.

                    1.    Recoverable Damages.    Since  questions such  as
                    1.    Recoverable Damages.
                          ___________________

          whether a  statute authorizes damages in  particular instances or

          in  favor of  particular  parties are  quintessentially legal  in


                                          19














          nature, we afford de novo review.  See EEOC v.  Bank of Billings,
                                             ___ ____     ________________

          758 F.2d 397, 401  (9th Cir.), cert. denied, 474 U.S. 902 (1985);
                                         _____ ______

          see  also Strickland v. Commissioner, Me.  Dep't of Human Servs.,
          ___  ____ __________    ________________________________________

          48 F.3d 12, 16 (1st Cir. 1995).  HSF's claim  that the plaintiffs

          cannot  recover   damages  under  EMTALA  for   their  own  pain,

          suffering, and  anguish falls into this category.  Undertaking de

          novo review, we conclude that  this claim is voiced too  late and

          augurs too little.

                    The  chronology of  the case  speaks volumes  about the

          lack of timeliness.  HSF first had the opportunity to assert this

          defense in its answer  to the plaintiffs' complaint, but  did not

          do  so.   In  its  submissions  ancillary  to  both  the  initial

          scheduling conference  and the  pretrial conference, see  Fed. R.
                                                               ___

          Civ.  P. 16, HSF likewise  omitted any reference  to the defense.

          The  latter omission  is  especially significant.   The  pretrial

          conference is an important event in the life of a litigated case.

          It is  designed to assist the  court in "formulati[ng] .  . . the

          issues,   including  the  elimination   of  frivolous  claims  or

          defenses."   Fed. R. Civ. P. 16(c)(1).   Along the same line, the

          pretrial order is intended  to shape the contours of  the ensuing

          trial  by setting forth the legal theories upon which the parties

          intend  to  rely.   See  D.P.R.  Loc.  R.  314.3(E).   Here,  HSF
                              ___

          undermined  these mechanisms.  It failed to assert the defense at

          the pretrial conference,  and, consequently, the pretrial  order,

          signed by all counsel and entered by the  district court, made no

          mention of  any contention  that EMTALA barred  recovery for  the


                                          20














          heirs' anguish and suffering.

                    The Hospital's  neglect continued  up to,  and through,

          the trial proper.  In its trial brief,  HSF enumerated only three

          legal issues to be considered at trial.  None of these dealt with

          the  question of whether  persons other  than patients  (or those

          suing in  a patient's behalf) could recover damages under EMTALA.

          At the close  of the plaintiffs'  case, HSF unsuccessfully  moved

          for judgment as a matter of  law, see Fed. R. Civ. P.  50(a), but
                                            ___

          without calling the court's  attention to the alleged impropriety

          of compensating the plaintiffs for their own pain and  suffering.

          At the close of  all the evidence, the Hospital renewed  its Rule

          50(a) motion, but did not add any new grounds.  To cinch matters,

          the  Hospital  eschewed  any   objection  to  the  trial  court's

          inclusion  of   the  plaintiffs'  claims  for   their  own  pain,

          suffering, and mental anguish  in the verdict forms and  the jury

          instructions.   This was a waiver, pure  and simple.  See Fed. R.
                                                                ___

          Civ. P. 49(a), 51; see also Putnam Resources v. Pateman, 958 F.2d
                             ___ ____ ________________    _______

          448, 456 (1st Cir.  1992) ("Silence after instructions, including

          instructions on  the form of  the verdict  to be returned  by the

          jury, typically constitutes a waiver of any objections.").

                    Based  on this  somber record  of inattention,  we hold

          that  HSF forfeited the theory  of defense that  it now espouses.

          In  reaching  this  conclusion,  we give  special  weight  to the

          Hospital's  boycott of the final  pretrial order.   That order is

          intended to "control  the subsequent course  of the action,"  and

          can  be modified only "to  prevent manifest injustice."   Fed. R.


                                          21














          Civ. P. 16(e).   An appellate court should  not lightly relieve a

          litigant from the condign  consequences of its failure to  list a

          theory  of defense  at  that critical  stage of  the proceedings.

          See, e.g., Ramirez Pomales v. Becton Dickinson Co., 839 F.2d 1, 3
          ___  ____  _______________    ____________________

          (1st Cir. 1988) (explaining that issues not included in the final

          pretrial  order are generally waived).  If pretrial orders are to

          achieve  their  intended  purpose,  "courts  and  litigants  must

          ordinarily take  them  seriously."   Roland  M. v.  Concord  Sch.
                                               __________     _____________

          Comm., 910 F.2d 983, 999 (1st Cir. 1990), cert. denied,  499 U.S.
          _____                                     _____ ______

          912 (1991).

                    While waivers are sometimes overlooked on  appeal, none

          of the possible  routes around  HSF's waiver are  passable.   The

          suggestion that the  Rule 50(a) motion  preserved the defense  is

          little short of jejune.  A motion for judgment as a matter of law

          made at the close  of all the evidence preserves  for review only

          those grounds specified at the time, and no others.  See Sanchez,
                                                               ___ _______

          37  F.3d at 723;  Sweeney v. Westvaco  Co., 926 F.2d  29, 37 (1st
                            _______    _____________

          Cir.), cert. denied, 502 U.S. 899 (1991).  By the same token, the
                 _____ ______

          suggestion    that   HSF's   post-trial   motion   for   judgment

          notwithstanding the verdict   a motion in which HSF for the first

          time made a claim that EMTALA did not authorize a recovery by the

          plaintiffs for their own pain, suffering, and anguish   saves the

          day  is equally  unavailing.   Indeed, this  motion is  a classic

          example of a litigant  locking the barn door long after the horse

          has bolted.  As the  name implies, a renewed motion for  judgment

          as a matter  of law under Fed. R. Civ. P. 50(b) is bounded by the


                                          22














          movant's earlier Rule 50(a) motion.  The movant cannot use such a

          motion  as a vehicle to  introduce a legal  theory not distinctly

          articulated  in  its  close-of-evidence  motion  for  a  directed

          verdict.   See Sanchez, 37  F.3d at 723;  Perdoni Bros., Inc.  v.
                     ___ _______                    ___________________

          Concrete Sys., Inc., 35 F.3d 1,  3 (1st Cir. 1994); Systemized of
          ___________________                                 _____________

          New Eng.,  Inc. v. SCM,  Inc., 732 F.2d  1030, 1035-36  (1st Cir.
          _______________    __________

          1984); see also  James W.  Moore, 5A Moore's  Federal Practice   
                 ___ ____                      _________________________

          50.08  (2d ed. 1994) (explaining that a motion for judgment after

          the  verdict  under  Rule  50(b)   "may  only  be  premised  upon

          particular grounds raised in the earlier motion made at the close

          of  all  the  evidence,"  and that,  accordingly,  "any  argument

          omitted from  the motion  made at the  close of  the evidence  is

          waived as a ground for judgment under Rule 50(b)").

                    The last  possibility that  we consider relates  to the

          reality that the raise-or-waive  rule (like virtually all subsets

          of the plain error  principle) admits of an  occasional exception

          in the  interests of justice.   Thus,  the court  of appeals  has

          discretion to  relieve a  party from  the normal  consequences of

          failure to  proffer a defense  in a  timeous manner.   See United
                                                                 ___ ______

          States  v.  La  Guardia, 902  F.2d  1010,  1013  (1st Cir.  1990)
          ______      ___________

          (holding  that   "an  appellate  court  has   discretion,  in  an

          exceptional case,  to reach virgin issues");  accord Singleton v.
                                                        ______ _________

          Wulff, 428 U.S. 106,  121 (1976); United States v.  Krynicki, 689
          _____                             _____________     ________

          F.2d 289, 291-92 (1st Cir. 1982).  But the exceptions are few and

          far between, and appellate discretion should not be affirmatively

          exercised  unless  error  is   plain  and  the  equities  heavily


                                          23














          preponderate  in favor of correcting it.  To meet this benchmark,

          the  omitted   argument  ordinarily  will  have   to  be  "highly

          persuasive,"  and declining to reach  it will have  to portend "a

          miscarriage of justice."  Krynicki, 689 F.2d at 292.  Taking into
                                    ________

          account the dimensions of this obstacle, we discern no compelling

          basis for invoking this court's discretion.

                    EMTALA looks  to state law, broadly  defined to include

          Puerto Rico law,  see 42  U.S.C.    410(h),  1395x(x), anent  the
                            ___

          availability of damages.  It contains the following instruction:

                    Any individual who suffers personal harm as a
                    direct result of  a participating  hospital's
                    violation  of a  requirement of  this section
                    may,   in  a   civil   action   against   the
                    participating hospital,  obtain those damages
                    available  for personal injury  under the law
                    of the State in which the hospital is located
                    . . . .

          42 U.S.C.   1395dd(d)(2).  HSF's argument in effect proposes that

          we construe the  words "individual" and "direct"  as denoting the

          patient herself, and  no one else.   But this is only one  of two

          possible constructions of  the statute.   It is  equally open  to

          read  the law  as  permitting an  individual  who has  a  special

          relationship with  another   say,  a wife deprived  of consortium

          or,  as here, a bereaved relative    to sue when she is harmed in

          direct  consequence of  an EMTALA  violation inflicted  upon such

          other.  When  death results, this reading  would naturally extend

          the  statutory prerogative  to  individuals who  are eligible  to

          bring survivors' actions  under local  law.  See,  e.g., Lane  v.
                                                       ___   ____  ____

          Calhoun-Liberty County Hosp. Ass'n, Inc., 846 F. Supp. 1543, 1553
          ________________________________________

          (N.D. Fla.  1994) (permitting claimants to  recover those damages

                                          24














          available  to survivors  under  Florida law);  Griffith v.  Mount
                                                         ________     _____

          Carmel  Med. Ctr.,  842  F.  Supp.  1359,  1365  (D.  Kan.  1994)
          _________________

          (affirming award of damages to wife and children of a decedent).

                    Since  both  readings are  superficially  plausible, we

          cannot say it was plain error for the lower court, in the absence

          of  any timely  objection, to  interpret the  statute generously,

          thus providing remediation for the decedent's heirs comparable to

          that  which they would ordinarily  receive under local  law.  See
                                                                        ___

          Widow of Delgado v. Boston Ins. Co., 101 P.R. Dec. 598, 599-60 (1
          ________________    _______________

          Official Translation 824, 825)  (1973) (explaining that the heirs

          of a  person who  died through  another's negligence  have claims

          both for their own suffering and the suffering of the decedent).

                    2.    Excessiveness.    HSF's  final  storming  of  the
                    2.    Excessiveness.
                          _____________

          barricades  consists of  a frontal  attack on  the amount  of the

          jury's  award  and a  flanking  attack  on Judge  Perez-Gimenez's

          decision  not  to trim  it.   Both determinations  are reviewable

          under an abuse-of-discretion rubric.  See, e.g., Segal v. Gilbert
                                                ___  ____  _____    _______

          Color Sys., Inc., 746 F.2d 78, 81 (1st Cir. 1984).
          ________________

                    This  aspect of the case centers around the size of the

          aggregate damage award.  Excessiveness,  like beauty, is often in

          the eye of  the beholder.   Accordingly, the  case law  instructs

          that  a damage award must endure unless it is "grossly excessive,

          inordinate, shocking to the  conscience of the court, or  so high

          that it would be a denial of justice to permit it to stand."  Id.
                                                                        ___

          at  80-81 (quoting Grunenthal v.  Long Island R.R.  Co., 393 U.S.
                             __________     _____________________

          156, 159 &amp;  n.4 (1968);  internal quotation marks  omitted).   An


                                          25














          appellate court's normal disinclination  to second-guess a jury's

          evaluation of the proper amount of damages is magnified where, as

          here,  the  damages entail  a  monetary  valuation of  intangible

          losses,  and the trial judge, having seen and heard the witnesses

          at  first  hand,  accepts the  jury's  appraisal.    See Ruiz  v.
                                                               ___ ____

          Gonzalez Caraballo, 929 F.2d 31, 34 (1st Cir. 1991).
          __________________

                    Measured by this standard, the verdicts in favor of the

          survivors are beyond  reproach.  Puerto Rico law  permits certain

          close relatives to bring  suits of this type without  requiring a

          showing of physical  injury or economic loss.  See P.R. Laws Ann.
                                                         ___

          tit. 31,    5141 (1990); see  also LaForest  v. Autoridad de  Las
                                   ___  ____ ________     _________________

          Fuentes Fluviales, 536 F.2d 443, 444-45 (1st Cir. 1976) (applying
          _________________

          Puerto  Rico  law and  allowing  wrongful  death  action  by  the

          decedent's parents  and siblings);  Burke v. Compagnie  Nationale
                                              _____    ____________________

          Air  France, 699  F. Supp.  1016, 1018 (D.P.R.  1988) (explaining
          ___________

          that,  under  Puerto  Rico's  Civil Code,  "mental  suffering  is

          generally just as compensable as physical harm").

                    Here,  the plaintiffs presented  both lay testimony and

          expert  opinion evidence  regarding  their pain,  suffering,  and

          mental  anguish  (past,  present,  and future).    The  testimony

          indicated  that  the  decedent   was  a  matriarchal  figure  who

          functioned as the  hub of  the family  circle.   Her son,  Angel,

          lived  with her; her  two daughters,  Gloria and  Esther, resided

          nearby;  her deceased son's four children   who lost their father

          a mere five months  before their grandmother perished    dwelt in

          her  home  for  much of  their  lives.    The plaintiffs'  expert


                                          26














          testified  that all  three  of Ms.  Gonzalez's children  suffered

          depression in the wake of their mother's death; and that the four

          grandchildren experienced sadness,  suffering and  the like  that

          would take up to five years to abate.

                    At trial,  HSF neither rebutted this  testimony in kind

          nor effectively  impeached it.   On appeal, HSF sends  up a smoke

          screen,  resorting to  highly  questionable  practices.    Citing

          authority  out of context,  and neglecting to  insert ellipses to

          signify textual omissions   its citation of Ruiz, 929 F.2d at 34,
                                                      ____

          as "authority" for a proposition exactly the opposite of what the

          case holds  is a prime example    HSF strains to  carry the heavy

          burden  inherent in  challenging  a jury's  award of  damages for

          noneconomic loss.  We  find its argument to be  both disingenuous

          and unpersuasive.

                    Objectively considered, the  record easily supports the

          jury's assessment  of damages in favor  of the offspring.   It is

          hard to  doubt  that  the  plaintiffs  suffered  when  the  woman

          described by one witness as the  trunk of the family tree was cut

          down.    The  open  question  involves  the  difficult  chore  of

          translating  their  pain, suffering,  and  anguish into  dollars.

          This is a matter largely within the jury's ken.   See id.  Taking
                                                            ___ ___

          into  account  the expert's  testimony  and the  evidence  of the

          close-knit family structure, the  sums awarded do not shock    or

          even vellicate   our collective conscience.

                    This  leaves  the  $200,000  awarded to  the  heirs  on

          account of Ms.  Gonzalez's pain and suffering.   Though generous,


                                          27














          the  jury's assessment  does not outstrip  the bounds  of reason.

          Due  to  the   Hospital's  failure  to  provide   even  the  most

          rudimentary screening, Ms. Gonzalez spent the few remaining hours

          of  her  life in  agony, beset  by  nausea, dizziness,  and chest

          pains.  It is hard to imagine    let alone to quantify in dollars

            the  sheer terror that  she must  have felt  while waiting  for

          medical attention that never came.

                    Although HSF  mounts a  series of arguments  crafted to

          cast  doubt upon  the size  of the  verdict, these  arguments are

          unpersuasive.    This  case,  in which  the  decedent's  travails

          extended  over  a  period  of  several  hours,  is  unlike  cases

          involving  sudden death in which a  decedent's pain and suffering

          is limited to  a few seconds  or, at most,  a matter of  minutes.

          See, e.g., Bonn v. Puerto Rico Int'l Airlines, Inc., 518 F.2d 89,
          ___  ____  ____    ________________________________

          94 (1st  Cir. 1976).   By  like  token, merely  showing that  the

          damage  award is  generous in  comparison to  other (hand-picked)

          cases  is insufficient to warrant relief.  See Havinga v. Crowley
                                                     ___ _______    _______

          Towing  &amp; Transp.  Co., 24  F.3d 1480,  1488-89 (1st  Cir. 1994).
          ______________________

          Finally, it is beside  the point that judges in  the commonwealth

          courts frequently  award lesser  sums in wrongful  death actions.

          While  EMTALA refers  to  local law  to  determine the  scope  of

          damages, see 42  U.S.C.   1395dd(d)(2), this requirement does not
                   ___

          override  the general rule  that "[a] federal  jury . .  . is not

          bound  in  making  its  determination  by  the  amount  that  the

          Commonwealth  courts have  awarded or  approved."   LaForest, 536
                                                              ________

          F.2d at 446-47.


                                          28














                    To  recapitulate, converting  feelings  such  as  pain,

          suffering,  and  mental anguish  into  dollars  is not  an  exact

          science.   The  jury is  free "to  harmonize the  verdict at  the

          highest or lowest points  for which there is a  sound evidentiary

          predicate, or anywhere in between . . . so long as the end result

          does not .  . . strike such a dissonant  chord that justice would

          be  denied  were the  judgment permitted  to  stand."   Milone v.
                                                                  ______

          Moceri Family, Inc., 847 F.2d  35, 37 (1st Cir. 1988).   Here, we
          ___________________

          do not find  the damages assigned by the jury  to cross the outer

          limit of  the wide  universe of acceptable  awards.  In  sum, the

          damage award in the heirs' favor is neither legally inappropriate

          nor so excessive as to necessitate a remittitur.10

          V.  CONCLUSION
          V.  CONCLUSION

                    We need go no further.  HSF has not presented arguments

          capable  of  overcoming  the   formidable  hurdles  it  faces  in

          challenging  either the  liability  determination  or the  damage

          assessment of  a properly  instructed jury.   The judgment  below

          must therefore be



          Affirmed.
          Affirmed.
          ________










                              
          ____________________

               10Our endorsement of the damages, including the award to the
          heirs  for the decedent's pain and suffering, is fortified by the
          trial judge's unconditional seal of approval.  See Ruiz, 929 F.2d
                                                         ___ ____
          at 34.

                                          29











                                       APPENDIX
                                       APPENDIX

                                   EMTALA Excerpts
                                   EMTALA Excerpts
                                   _______________



                         In  the case  of a  hospital that  has  a hospital

                    emergency department, if any individual (whether or not

                    eligible for benefits  under [Medicare]), comes  to the

                    emergency  department  and a  request  is  made on  the

                    individual's behalf for examination  or treatment for a

                    medical  condition, the  hospital must  provide for  an

                    appropriate  medical  screening examination  within the

                    capability  of  the  hospital's  emergency  department,

                    including ancillary services routinely available to the

                    emergency  department, to  determine whether or  not an

                    emergency  medical  condition  (within  the  meaning of

                    subsection (e)(1) of this section) exists.

          42 U.S.C.   1395dd(a).

                         If  any  individual (whether  or not  eligible for

                    benefits under [Medicare]) comes  to a hospital and the

                    hospital   determines  that   the  individual   has  an

                    emergency medical condition, the hospital  must provide

                    either--

                              (A) within the staff and facilities available

                         at   the  hospital,   for  such   further  medical

                         examination and such treatment as  may be required

                         to stabilize the medical condition, or

                              (B) for transfer of the individual to another


                                          30














                         medical facility in accordance with subsection (c)

                         of this section.

          42 U.S.C.   1395dd(b)(1).

                         If an  individual at  a hospital has  an emergency

                    medical condition which has not been stabilized (within

                    the meaning of  subsection (e)(3)(b) of  this section),

                    the hospital may not transfer the individual unless--

                              (A)(i)   the   individual   (or   a   legally

                         responsible  person  acting  on  the  individual's

                         behalf)  after  being informed  of  the hospital's

                         obligations under this section  and of the risk of

                         transfer, in writing  requests transfer to another

                         medical facility [, or]

                              (ii)  a   physician  .  .  .   has  signed  a

                         certification  that  based  upon  the  information

                         available  at the  time of  transfer, the  medical

                         benefits reasonably expected from the provision of

                         appropriate medical treatment  at another  medical

                         facility  outweigh  the  increased  risks  to  the

                         individual . . . and

                              (B) the transfer is an appropriate transfer .

                         . . [as defined infra].
                                         _____

          42 U.S.C.   1395dd(c)(1).

                         An appropriate transfer to a medical facility is a

                    transfer--

                              (A)  in  which   the  transferring   hospital


                                          31














                         provides the medical treatment within its capacity

                         which  minimizes  the  risks  to  the individual's

                         health . . . ;

                              (B) in which the receiving facility--

                                   (i)  has  available space  and qualified

                              personnel   for   the   treatment    of   the

                              individual, and

                                   (ii)  has agreed  to accept  transfer of

                              the  individual  and  to provide  appropriate

                              medical treatment;

                              (C) in which the transferring  hospital sends

                         to the  receiving facility all  [relevant] medical

                         records . . . ; [and]

                              (D) in which the transfer is effected through

                         qualified personnel  and transportation equipment,

                         as  required including  the use  of necessary  and

                         medically appropriate life support measures during

                         the transfer . . . .

          42 U.S.C.   1395dd(c)(2).

                         A participating hospital that negligently violates

                    a requirement  of this section  is subject  to a  civil

                    monetary penalty of  not more  than $50,000 .  . .  for

                    each such violation.

          42 U.S.C.   1395dd(d)(1)(A).

                         Any individual who suffers personal harm

                    as   a  direct  result   of  a  participating


                                          32














                    hospital's violation of a requirement of this

                    section may,  in a  civil action  against the

                    participating hospital,  obtain those damages

                    available for personal  injury under the  law

                    of  the  State  in  which  the  hospital   is

                    located,  and  such  equitable relief  as  is

                    appropriate.

          42 U.S.C.   1395dd(d)(2)(A).

                         The term  "emergency medical condition" means  . .

                    .

                         (A)  a   medical  condition  manifesting

                    itself  by  acute   symptoms  of   sufficient

                    severity  (including  severe pain)  such that

                    the  absence  of immediate  medical attention

                    could reasonably be expected to result in--

                         (i)  placing the health of the individual . . . in

                         serious jeopardy,

                         (ii) serious impairment to bodily functions, or

                         (iii) serious  dysfunction of any  bodily organ or

                         part . . . .

          42  U.S.C.   1395dd(e)(1)(A).

                         A participating hospital  may not delay  provision

                    of   an   appropriate  medical   screening  examination

                    required  under  subsection  (a)  of  this  section  or

                    further  medical  examination  and  treatment  required

                    under  subsection  (b)  of  this section  in  order  to


                                          33














                    inquire  about the  individual's method  of payment  or

                    insurance status.

          42 U.S.C.   1395dd(h).
















































                                          34









